                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                 CLEVELAND DISTRICT

JEREMY HIETT and HAILEY HIETT,                      )
                                                    )
               Plaintiffs,                          )
                                                    )
                                                    )       No.1:11-dp-20413-DAK
                                                    )
vs.                                                 )
                                                    )
DEPUY ORTHOPAEDICS, INC., and                       )
JOHNSON AND JOHNSON, INC. ,                         )
                                                    )
               Defendant.                           )

                                   NOTICE OFATTORNEY LIEN

       Comes the undersigned counsel on behalf Craft & Sheppard, PLC and hereby files this

Notice of Attorney Lien for fees and expenses expended to date in representation of Plaintiffs.



                                                    Respectfully submitted,



                                                    s/Perry A. Craft___________________
                                                    Perry A. Craft, Esq.
                                                    CRAFT & SHEPPARD, PLC
                                                    1604 Westgate Circle, Suite 1
                                                    Brentwood, TN 37027
                                                    Telephone: (615) 309-1707
                                                    Facsimile: (615) 309-1717
                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was forwarded via
the Court’s electronic filing system to the following counsel, this the 13th day of February 2012,
to:

Matthew E. Wright, Esq.
Hardee, Martin & Donahoe
213 East Lafayette Street
Jackson, TN 38301

Kristen L. Mayer
Tucker Ellis & West
1150 Huntington Bldg.
925 Euclid Avenue
Cleveland, OH 44115-1475

Lauren D. Godfrey
Drinker Biddle & Reath - Florham
Park
500 Campus Drive
Florham Park, NJ 07932

S. Peter Voudouris
Tucker Ellis & West
1150 Huntington Bldg.
925 Euclid Avenue
Cleveland, OH 44115-1475

Susan M. Sharko
Drinker Biddle & Reath - Florham
Park
500 Campus Drive
Florham Park, NJ 07932




                                                            s/Perry A. Craft
                                                            Perry A. Craft




                                                2
